      Case
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -X                              11/15/2021
UNITED STATES OF AMERICA

          - v. -                               ORDER

ROBERT JEFFREY JOHNSON,
ROSS BALDWIN, and
KATHLEEN HOOK                                  21 Cr. 428 (ER)

                      Defendants.

- - - - - - - - - - - - - - - - - -X

          Upon the application of the United States of America,

by and through Assistant United States Attorney Noah

Solowiejczyk, and with the consent of defendants ROBERT JEFFREY

JOHNSON, ROSS BALDWIN, and KATHLEEN HOOK, by and through their

respective defense counsel:

          It is hereby ORDERED that the status conference

scheduled for November 17, 2021 at 10:00 a.m. is hereby

                          January 20
adjourned until ____________________________,           10:00 a.m
                                              2022, at ________.

          It is FURTHER ORDERED that the time from November 17,

                     January 20
2021 through __________________________, 2022 is excluded under

the Speedy Trial Act, Title 18, United States Code, Section

3161(h)(7)(A), in the interests of justice. The court finds that

the ends of justice served by granting a continuance outweigh

the best interests of the public and the defendant in a speedy

trial, because it would permit defense counsel to continue to

                                     1
      Case
       Case1:21-cr-00428-ER
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review discovery and determine what motions, if any, the defense

intends to file, as well as to permit the parties to discuss

potential pre-trial disposition of this matter.

Dated: New York, New York
                 15
       November ___, 2021


                                     ____
                                       __________
                                               ___________
                                               __
                                   __________________________________
                                     e Honorable
                                   The         e Edgardo Ramos
                                                         R
                                   UNITED STATES DISTRICT JUDGE




                                     2
